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                             Exhibit B
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CSDNY (05/2010) Certificate of Good Standing




                           United States District Court
                                               Southern District ofNew York

                                                                                              Certificate of
                                                                                              Good Standing

    I, Ruby J. Kraiick,C lerk of this Court, certify that



                                ROY DEN HOLLANDER
   -----------=~~~~==~==~---------
                                                                                     , Bar# ----~~~-----
                                                                                                RH1957


                                                      was duly admitted to practice in this Court on


    ____,D~E,_,C....,E.....,M=B=E..._,R,__,1~0'"""th._..........2=0=02,___, and is in good standing as a member of the Bar of this
    Court.




              500 Pearl Street
    Dated at New York, New York                               on --------~D~E~C=EM~B=ER~1~1t=h~,2=0~1~4~




                         Ruby J. Krajick
                           Clerk
                                                               by~~
                                                                  /
